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                       IN THE UNITED STATED DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION



  ROTHSCHILD CONNECTED DEVICES §
  INNVOATIONS, LLC                    §
                                      §
 .      Plaintiff,                    §               Case No: 2:15-cv-1876-RWS-RSP
                                      §
        vs.                           §
                                      §
  FORD MOTOR COMPANY                  §
                                      §
        Defendant.                    §
  ___________________________________ §

                                             ORDER

        On this day the Court considered the Unopposed Motion to Dismiss Ford Motor Company.
 It is therefore ORDERED that all claims by Rothschild Connected Devices Innovations, LLC
 against Ford Motor Company hereby DISMISSED WITH PREJUDICE, with each party to bear
 its own costs,
         SIGNED expenses andday
                   this 3rd  attorneys’ fees. 2012.
                                 of January,
        SIGNED this 3rd day of November, 2016.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE
